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                                                                November 17, 2020
   VIA ECF

   Honorable Loretta A. Preska
   United States District Court
   Southern District of New York
   500 Pearl Street
   New York, NY 10007-1312

           Re:      Giuffre v. Dershowitz, Case No.: 19-cv-03377-LAP

   Dear Judge Preska:

           Pursuant to Rule 2.H.2 of Your Honor’s Individual Practices, Defendant Alan Dershowitz
   (“Professor Dershowitz”) respectfully requests permission to file under seal his Memorandum of Law in
   support of his Motion to Disqualify Cooper & Kirk PLLC, as well as certain exhibits thereto. As
   grounds therefor, Professor Dershowitz states that the Memorandum and exhibits contain material which
   has been designated confidential under the Protective Order in Giuffre v. Maxwell, or which was filed
   under seal in that case. Professor Dershowitz will file a redacted version of his Memorandum to the
   public docket.

          Plaintiff has no objection to this request provided that the Court also allows her to file her
   response under seal in the event it includes confidential or sealed material.



                                                       Respectfully submitted,

                                                       /s/ Christian G. Kiely
                                                       Christian G. Kiely

   cc:     All counsel of record, via email




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